         Case 5:21-cv-00172-OLG Document 55 Filed 07/18/22 Page 1 of 1                FILED
                                                                                    July 18, 2022
                                                                               CLERK, U.S. DISTRICT COURT
                                                                               WESTERN DISTRICT OF TEXAS

                      IN THE UNITED STATES DISTRICT COURT                                                 JU
                                                                            BY: ________________________________
                                                                                                    DEPUTY
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 SANTANDER CONSUMER USA, INC.,
                                      Plaintiff,
                                                                Civil Case No.:
 v.
                                                              5:21-CV-172-OLG
 THE CITY OF SAN ANTONIO,
 ALANIS WRECKER SERVICE, LLC, and
 ALEJANDRO ALANIS,
                                   Defendants.

      ORDER EXTENDING THE DISPOSITIVE MOTION DEADLINE, PRETRIAL
                  CONFERENCE DATE, AND TRIAL DATE


       On the date signed below, came on to be heard Santander Consumer USA Inc.’s Motion to

Extend the Dispositive Motion Deadline, Pretrial Conference, and Trial Date [dkt. #54], filed,

in the above numbered and entitled cause, and it appearing to the Court that such Motion should

be GRANTED; it is, therefore,

       ORDERED, ADJUDGED and DECREED that the Dispositive Motion Deadline is

extended up to and including September 30, 2022;

       ORDERED, ADJUDGED and DECREED that the pretrial conference date is extended

up to and including November 30, 2022 at 10:00 a.m..

       ORDERED, ADJUDGED and DECREED that the trial date is extended up to and

including December 12, 2022 at 9:30 a.m..




       SIGNED this the _____
                       18th day of _____________,
                                      July        2022.




                                            ORLANDO L. GARCIA
                                            CHIEF UNITED STATES DISTRICT JUDGE
